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19   SUNLINK CORPORATION

20                               UNITED STATES DISTRICT COURT

21                             NORTHERN DISTRICT OF CALIFORNIA

22                                       (OAKLAND DIVISION)

23   SUNPOWER CORPORATION, SYSTEMS, a                Case No. CV 08-2807 SBA (EMC)
     Delaware corporation,
24
                Plaintiff and Counter-defendant,     STIPULATED DISMISSAL OF CLAIMS
25      vs.                                          AND COUNTERCLAIMS AND
                                                     [PROPOSED] ORDER
26   SUNLINK CORPORATION, a Delaware
     Corporation,                                    PATENT CASE
27
                Defendant and Counter-claimant.
28
                                                          STIPULATED DISMISSAL OF CLAIMS AND COUNTER
                                                                         CLAIMS AND [PROPOSED] ORDER
                                                                            Case No. CV 08-2807 SBA (EMC)
           Case 4:08-cv-02807-SBA Document 128 Filed 10/26/09 Page 2 of 4



 1           Pursuant to the parties’ October 6, 2009 settlement agreement, Plaintiff SunPower

 2   Corporation, Systems and Defendant SunLink Corporation, by and through their undersigned

 3   counsel of record, hereby stipulate and move for an order dismissing the above-captioned case,

 4   including all claims and counterclaims, with prejudice pursuant to Federal Rule of Civil Procedure

 5   41(a)(1)(ii). The parties further stipulate that each party shall be responsible for its own costs and

 6   attorneys fees related to this action.

 7           The parties further stipulate and respectfully request that a Magistrate Judge of this Court

 8   retain jurisdiction to enforce the terms and conditions of the parties’ October 6, 2009 settlement

 9   agreement resolving this matter.

10   Dated: October 26, 2009                    FISH & RICHARDSON P.C.

11
                                                By: /s/ Craig R. Compton
12                                                  Craig R. Compton
13                                              Attorneys for Plaintiff and Counter-defendant
                                                SUNPOWER CORPORATION, SYSTEMS
14

15   Dated: October 26, 2009                    DURIE TANGRI LLP
16
                                                By: /s/ Daralyn J. Durie
17                                                  Craig R. Compton
18                                              Attorneys for Defendant and Counter-claimant,
                                                SUNLINK CORPORATION
19

20                                            DECLARATION
21           Pursuant to General Order No. 45, Section X(B) regarding signatures, I attest under
22   penalty of perjury that concurrence in the filing of this document has been obtained from Daralyn
23   J. Durie.
24   Dated: October 26, 2009                    FISH & RICHARDSON P.C.
25
                                                By: /s/ Craig R. Compton
26                                                  Craig R. Compton
27                                              Attorneys for Plaintiff and Counter-defendant
                                                SUNPOWER CORPORATION, SYSTEMS
28
                                                       2          STIPULATED DISMISSAL OF CLAIMS AND COUNTER
                                                                                 CLAIMS AND [PROPOSED] ORDER
                                                                                    Case No. CV 08-2807 SBA (EMC)
            Case 4:08-cv-02807-SBA Document 128 Filed 10/26/09 Page 3 of 4



 1                                                 ORDER
 2            PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims and counterclaims
 3   in this case are dismissed with prejudice and that a Magistrate Judge of this Court shall retain
 4   jurisdiction to enforce the terms and conditions of the parties’ October 6, 2009 settlement

 5   agreement.

 6

 7   Dated: _10/26/09

 8
                                                   Hon. Saundra Brown Armstrong
 9                                                 United States District Court Judge

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                                                       3         STIPULATED DISMISSAL OF CLAIMS AND COUNTER
                                                                                CLAIMS AND [PROPOSED] ORDER
                                                                                   Case No. CV 08-2807 SBA (EMC)
            Case 4:08-cv-02807-SBA Document 128 Filed 10/26/09 Page 4 of 4



 1                                     CERTIFICATE OF SERVICE
 2            The undersigned hereby certifies that on October 26, 2009, all counsel of record who are
 3   deemed to have consented to electronic service are being served with a copy of the
 4   STIPULATED DISMISSAL OF CLAIMS AND COUNTERCLAIMS AND [PROPOSED]
 5   ORDER via the Court’s CM/ECF system per Local Rule 5-4 and General Order 45. Any other
 6   counsel of record will be served by first class mail.

 7                                                           /s/ Craig R. Compton_________________
                                                             Craig R. Compton
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                                                    4             STIPULATED DISMISSAL OF CLAIMS AND COUNTER
                                                                                 CLAIMS AND [PROPOSED] ORDER
                                                                                    Case No. CV 08-2807 SBA (EMC)
